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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         SOUTHERN DISTRICT OF ILLINOIS

DEBORAH LAUFER,                                )
                                               )
Plaintiff,                                     )
                                               )
        v.                                     )           No.     20-cv-756 JPG
                                               )
JP HOTELS. INC, d/b/a Quality Inn Cairo,       )
                                               )
Defendant.                                     )
                                               )
                                               )
                                               )

                               MEMORANDUM AND ORDER


        This matter comes before the Court on the Notice of Dismissal (Doc. 20) pursuant to

Federal Rule of Civil Procedure 41(a)(1)(A)(i) filed by plaintiff. Rule 41(a)(1)(A)(i) allows a

plaintiff to dismiss an action without a court order at any time before the opposing party serves

an answer or a motion for summary judgment. The defendants have not served an answer or

motion for summary judgment in this case. Because the plaintiff has an absolute right to dismiss

this case at the present time, the Court finds that this action is DISMISSED without prejudice

and DIRECTS the Clerk of Court to close this case.

DATED: March 3, 2021
                                                     s/ J. Phil Gilbert
                                                     UNITED STATES DISTRICT JUDGE
